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                                                                                    October 19, 2021

Via ECF

Hon. Valerie E. Caproni
United States District Judge
U.S.D.C. for the Southern District of New York
40 Foley Square, Courtroom 443
New York, NY 10007

       Re:     City of New York v. Exxon Mobil Corporation, et al.,
               Case No. 1:21-cv-04807-VEC

Dear Judge Caproni,

       Plaintiff the City of New York submits this response to the Court’s Order to Show Cause
(Dkt. 55) as to why the Court should not stay the proceedings in this case.

         The City’s motion to remand is fully briefed and ready to be decided by this Court. As the
Court recognized, however, Exxon Mobil’s appeal in Connecticut v. Exxon Mobil Corp., No.
21-1446, is currently pending before the Second Circuit Court of Appeals, which is poised to
decide many of the grounds for removal presented by Exxon Mobil in that case and by Defendants
in this case. Although the Second Circuit would benefit from this Court’s analysis of Defendants’
removal grounds, the City understands that the Court may prefer to wait for further guidance in
Connecticut before proceeding with the City’s pending motion to remand. See generally LaSala v.
Needham & Co., 399 F. Supp. 2d 421, 427 & 427 n.39 (S.D.N.Y 2005).


                                             Respectfully submitted,



                                             Matthew K. Edling




cc: All Counsel via ECF




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